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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                   :
Jane Jason,                                        :
                                                   : Civil Action No.: ______
                        Plaintiff,                 :
        v.                                         :
                                                   :
FH Cann & Associates, Inc.; and DOES 1-10,         : COMPLAINT
inclusive,                                         :
                                                   :
                        Defendants.                :
                                                   :

                For this Complaint, the Plaintiff, Jane Jason, by undersigned counsel, states as

follows:

                                         JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), the Telephone Consumer

Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”), and the invasions of Plaintiff’s personal

privacy by the Defendants and its agents in their illegal efforts to collect a consumer debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

                                             PARTIES

        4.      The Plaintiff, Jane Jason (“Plaintiff”), is an adult individual residing in Lowell,

Massachusetts, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).
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       5.       Defendant FH Cann & Associates, Inc. (“Cann”), is a Massachusetts business

entity with an address of 1600 Osgood Street, North Andover, Massachusetts 01845, operating as

a collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).

       6.       Does 1-10 (the “Collectors”) are individual collectors employed by Cann and

whose identities are currently unknown to the Plaintiff. One or more of the Collectors may be

joined as parties once their identities are disclosed through discovery.

       7.       Cann at all times acted by and through one or more of the Collectors.

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

       8.       The Plaintiff allegedly incurred a financial obligation (the “Debt”) to New

Hampshire Higher Education (the “Creditor”).

       9.       The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

       10.      The Debt was purchased, assigned or transferred to Cann for collection, or Cann

was employed by the Creditor to collect the Debt.

       11.      The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

   B. Cann Engages in Harassment and Abusive Tactics

       12.      Beginning in or around September 2013, Defendants started calling Plaintiff three

(3) times a day on her cellular phone in an attempt to collect the Debt.

       13.      At all times mentioned herein, Defendants contacted Plaintiff using an automated

telephone dialer system (“ATDS” or “predictive dialer”) and/or by using an artificial or

prerecorded voice.
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       14.      Plaintiff never provided her consent to be contacted on her cellular phone to either

Creditor or Defendants.

       15.      When she answered the ATDS calls, Plaintiff experienced an extended period of

silence only after which a live representative came on the line.

       16.      During an initial conversation, Plaintiff informed Defendants that she could not

afford to satisfy the Debt at the time and promised to call Defendants when she had obtained a

job.

       17.      The call would end and the Defendant would then call the Plaintiff again, the

same day, concerning the debt.

       18.      In a conversation in or around October 2013, Plaintiff requested Defendants cease

any further communication with her as she could not afford to pay the Debt.

       19.      Nonetheless, Defendants proceeded to hound Plaintiff with ATDS calls in their

collection efforts; often calling Plaintiff multiple times in the same day.

       20.      Moreover, Defendants did not send Plaintiff written notice of validation of the

Debt within five (5) days of initial communication.

   C. Plaintiff Suffered Actual Damages

       21.      The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

       22.      As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.




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                                     COUNT I
                    VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

        23.      The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

        24.      The Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.

        25.      The Defendants’ conduct violated 15 U.S.C. § 1692g(a) in that Defendants failed

to send Plaintiff an initial letter within five days of its initial contact with Plaintiff as required by

law.

        26.      The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

        27.      The Plaintiff is entitled to damages as a result of Defendants’ violations.


                                  COUNT II
        VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                            47 U.S.C. § 227, et seq.

        28.      The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

        29.      At all times mentioned herein and within the last four years, Defendants called

Plaintiff on her cellular telephone using an ATDS or predictive dialer and/or by using a

prerecorded or artificial voice.

        30.      In expanding on the prohibitions of the TCPA, the Federal Communications

Commission (FCC) defines a Predictive Dialer as “a dialing system that automatically dials

consumers’ telephone numbers in a manner that “predicts” the time when a consumer will

answer the phone and a [representative] will be available to take the call…”2003 TCPA Order,

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18 FCC 36 Rcd 14022. The FCC explains that if a representative is not “free to take a call that

has been placed by a predictive dialer, the consumer answers the phone only to hear ‘dead air’ or

a dial tone, causing frustration.” Id. In addition, the TCPA places prohibitions on companies that

“abandon” calls by setting “the predictive dialers to ring for a very short period of time before

disconnecting the call; in such cases, the predictive dialer does not record the call as having been

abandoned.” Id.

       31.      Defendants’ telephone systems have all the earmarks of a predictive dialer. Often

times when Defendants called Plaintiff, she was met with a period of silence before Defendants’

telephone system would connect her to live person.

       32.      Upon information and belief, Defendants’ predictive dialers have the capacity to

store or produce telephone numbers to be called, using a random or sequential number generator.

       33.      Plaintiff did not provide her consent to be contacted on her cellular telephone, and

in fact instructed Defendants on multiple occasions to stop all calls to her and cease calling her

cellular telephone.

       34.      Defendants continued to place automated calls to Plaintiff’s cellular telephone

after being advised multiple times by Plaintiff that she could not satisfy the Debt at the time and

knowing there was no consent to continue the calls. As such, each call placed to Plaintiff was

made in knowing and/or willful violation of the TCPA, and subject to treble damages pursuant to

47 U.S.C. § 227(b)(3)(C).

       35.      The telephone number called by Defendants was assigned to a cellular telephone

service for which Plaintiff incurs charges for incoming calls pursuant to 47 U.S.C. § 227(b)(1).

       36.      The calls from Defendants to Plaintiff were not placed for “emergency purposes”

as defined by 47 U.S.C. § 227(b)(1)(A)(i).



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       37.      Each of the aforementioned calls made by Defendants constitutes a violation of

the TCPA.

       38.      As a result of each call made in negligent violation of the TCPA, Plaintiff is

entitled to an award of $500.00 in statutory damages for each call placed in violation of the

TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

       39.      As a result of each call made in knowing and/or willful violation of the TCPA,

Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 pursuant to 47

U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                                     PRAYER FOR RELIEF

                WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:

                   1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendants;

                   2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)

                       against Defendants;

                   3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                       § 1692k(a)(3) against Defendants;

                   4. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);

                   5. Punitive damages; and

                   6. Such other and further relief as may be just and proper.


                         TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: March 3, 2014

                                              Respectfully submitted,

                                              By       /s/ Sergei Lemberg

                                              Sergei Lemberg (BBO# 650671)

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